                Case 2:11-cr-00096-DC Document 228 Filed 12/09/13 Page 1 of 3


 1 BENJAMIN B. WAGNER
   United States Attorney
 2 PAUL A. HEMESATH
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:11 CR 00096 JAM
12                               Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                        TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                         v.                           FINDINGS AND ORDER
14   GUADALUPE REYES-ONTIVEROS, ET AL.,                 DATE: December 10, 2013
                                                        TIME: 9:45 a.m.
15                               Defendants.            COURT: Hon. John A. Mendez
16

17                                              STIPULATION

18         1.      By previous order, this matter was set for status on December 10, 2013.

19         2.      By this stipulation, defendants now move to continue the status conference until January

20 21, 2014, and to exclude time between December 10, 2013, and January 21, 2014, under Local Code T4.

21         3.      The parties agree and stipulate, and request that the Court find the following:

22                 a)     The government has represented that the discovery associated with this case

23         includes hundreds of pages of written reports, three data-intensive wiretap discs, and dozens of

24         images. All of this discovery has been either produced directly to counsel and/or made available

25         for inspection and copying.

26                 b)     Counsel for defendants desire additional time to consult with their respective

27         clients, review the evidence, and weigh the possibility of settlement.

28                 c)     Counsel for defendants believe that failure to grant the above-requested


      STIPULATION RE: SPEEDY TRIAL ACT;                 1
      [PROPOSED] FINDINGS AND ORDER
                 Case 2:11-cr-00096-DC Document 228 Filed 12/09/13 Page 2 of 3


 1          continuance would deny counsel the reasonable time necessary for effective preparation, taking

 2          into account the exercise of due diligence.

 3                  d)     The government does not object to the continuance.

 4                  e)     Based on the above-stated findings, the ends of justice served by continuing the

 5          case as requested outweigh the interest of the public and the defendant in a trial within the

 6          original date prescribed by the Speedy Trial Act.

 7                  f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 8          et seq., within which trial must commence, the time period of December 10, 2013 to January 21,

 9          2014, inclusive, is deemed excludable pursuant to excluded under 18 U.S.C. sections

10          3161(h)(7)(A) and (B)(iv), corresponding to Local Codes T2 [complex case] and T4 [reasonable

11          time for defense counsel to prepare], because it results from a continuance granted by the Court

12          at defendants’ request on the basis of the Court’s finding that the ends of justice served by taking

13          such action outweigh the best interest of the public and the defendant in a speedy trial.

14          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

15 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

16 must commence.

17          IT IS SO STIPULATED.

18
     Dated: December 6, 2013                                  BENJAMIN B. WAGNER
19                                                            United States Attorney
20
                                                              /s/ PAUL A. HEMESATH
21                                                            PAUL A. HEMESATH
                                                              Assistant United States Attorney
22

23

24 Dated: December 6, 2013                                    /s/ Donald Masuda
                                                              Donald Masuda
25
                                                              Counsel for Defendant IRMA GONZALEZ
26

27

28

      STIPULATION RE: SPEEDY TRIAL ACT;                   2
      [PROPOSED] FINDINGS AND ORDER
             Case 2:11-cr-00096-DC Document 228 Filed 12/09/13 Page 3 of 3

     Dated: December 6, 2013                          /s/ Olaf Hedberg
 1                                                    Olaf Hedberg
                                                      Counsel for Defendant
 2
                                                       GERMAN GONZALEZ VELAZQUEZ
 3

 4
     Dated: December 6, 2013                          /s/ Dina Santos
 5                                                    Dina Santos Counsel for Defendant
                                                      MAURICIO PORTILLO
 6

 7
     Dated: December 6, 2013                          /s/ Gilbert Roque
 8                                                    Gilbert Roque
 9                                                    Counsel for Defendant
                                                       GUADALUPE REYES ONTIVEROS
10

11

12

13                                        FINDINGS AND ORDER

14         IT IS SO FOUND AND ORDERED this 9th day of December, 2013

15
                                                /s/ John A. Mendez
16                                              THE HONORABLE JOHN A. MENDEZ
                                                UNITED STATES DISTRICT COURT JUDGE
17

18

19

20

21

22

23

24

25

26

27

28

      STIPULATION RE: SPEEDY TRIAL ACT;           3
      [PROPOSED] FINDINGS AND ORDER
